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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

STACY MILLER,

       Plaintiff,

vs.                                              CASE NO.:        2:17-cv-00144-LGW-
                                                 BWC
CITY OF DARIEN, DONNIE
HOWARD, RYAN ALEXANDER,
AND ARCHIE DAVIS,

       Defendant.                        /

                    NOTICE OF SUBSTITUTION OF COUNSEL

       Adian R. Miller, Esq., of the law firm of Morgan & Morgan, P.A., hereby

files her Notice of Appearance in the above-styled cause of action as local counsel of

record for the Plaintiff. All further pleadings and notices should be served on the

undersigned.

       Further, Jaime Duguay’s appearance in the above-styled cause of action is

withdrawn, as she is no longer with the firm.



                                                  /s/ Adian R. Miller     _____
                                                  Adian R. Miller, Esq.




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

using the CM/ECF filing system which I understand will send a notice of

electronic filing to all parties of record this 3rd day of January, 2019.


                                        /s/ Adian R. Miller      _____
                                        Adian R. Miller, Esq.
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